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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS,
                           HOUSTON DIVISION




DEXTER DARNELL JOHNSON,              §
    Petitioner,                      §
                                     §
             v.                      §     CIVIL ACTION NO. 4:11-cv-2466
                                     §
LORIE DAVIS, Director,               §     DEATH PENALTY CASE
Texas Department of Criminal         §
Justice, Correctional Institutions   §
Division,                            §
       Respondent.                   §


       OPPOSED MOTION TO TERMINATE PATRICK F. MCCANN’S
                        APPOINTMENT


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        OPPOSED MOTION TO TERMINATE PATRICK F. MCCANN’S
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TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Petitioner, DEXTER DARNELL JOHNSON, by and through

undersigned counsel, the Office of the Federal Public Defender for the Northern

District of Texas (“FPD”), and moves for the termination of Patrick F. McCann as

court-appointed counsel. In response to this Court’s appointment order, the FPD has

rapidly reviewed and assessed Mr. Johnson’s case. That review casts serious doubt

on the constitutionality of Mr. Johnson’s conviction and sentence of death. It leaves

no doubt, however, that Mr. McCann has provided Mr. Johnson ineffective assistance

of counsel.

       Mr. McCann’s performance in this case falls far below prevailing professional

norms. He failed to conduct perhaps the most basic duty of post-conviction counsel in

a capital case—collecting the trial teams file. In the ten-plus years that he

represented Mr. Johnson, he did not collect voluminous files from either of Mr.

Johnson’s trial counsel or from the trial mitigation specialist. This task is elementary;

yet, it is essential to providing competent representation in habeas corpus

proceedings. Furthermore, Mr. McCann failed to raise numerous potentially

meritorious claims, all of which have viable remaining vehicles to present them in

both state and federal court. These claims, chronicled in Section III, infra, include

easily-identifiable issues of ineffective assistance of trial counsel, false testimony, and

categorical ineligibility for the death penalty. The failure to identify and litigate these

issues previously is inexcusable.


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           Troublingly, in previous federal court litigation, Mr. McCann actively litigated

in a way that was against Mr. Johnson’s interests, which created a clear conflict

between Mr. McCann and Mr. Johnson—and one that was never conveyed to Mr.

Johnson. Allowing Mr. McCann to remain as Mr. Johnson’s attorney will prevent Mr.

Johnson from pursuing numerous potential meritorious avenues for relief, as these

claims will once again require Mr. Johnson to assert that Mr. McCann was

ineffective—which Mr. McCann, of course, cannot do without further cementing the

unmistakable conflict of interest.

           In sum, based on Mr. McCann’s unprofessional errors and omissions, his

ability to represent Mr. Johnson leading up to his May 2, 2019 execution date is

incurably impaired. For these reason, Mr. Johnson requests that Mr. McCann’s

appointment be terminated.1 Mr. Johnson will, in short order, file a motion for stay

of execution in conjunction with the instant request.

      I.      Factual background.

           Mr. Johnson was convicted of capital murder and sentenced to death on June

28, 2007. On the same day, Mr. McCann was appointed to represent Mr. Johnson in

state habeas proceedings. 3 CR 681 (Texas v. Johnson, No. 1085483, 11.071 Writ of

Habeas        Corpus      Oath     of    Indigence/Findings        of   Fact/Order       Appointing

Counsel/Statement of Facts (208th D.Ct. Jun. 28, 2007)). Mr. McCann timely filed an

initial state habeas application on July 23, 2009, raising eleven grounds for relief, but

presenting no new, case-specific evidence. The trial court found there were no



1   The FPD has consulted with Mr. Johnson regarding this motion. It has his full support.


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previously unresolved, controverted fact questions raised by the application and,

without holding an evidentiary hearing, entered findings of fact and conclusions of

law recommending the denial of relief. The Texas Court of Criminal Appeals denied

habeas relief on June 30, 2010. Ex parte Johnson, No. WR-73,600-01, Slip Op. (Tex.

Crim. App. Jun. 30, 2010) (per curiam).

        Mr. McCann moved for appointment to continue representing Mr. Johnson in

federal habeas pursuant to 18 U.S.C. § 3599, stating he was “best qualified and suited

to represent Mr. Johnson on his federal pleadings.” Johnson v. Thaler, No. 4:10-mc-

00318, DE 1 at 1 (S.D. Tex. Jul. 29, 2010). He was appointed the next day. Id. DE 2.

Thereafter, Mr. McCann did not seek ancillary services pursuant to 18 U.S.C. §

3599(f) to investigate the federal habeas petition.

        On June 6, 2011, the Supreme Court granted certiorari in Martinez v. Ryan,

566 U.S. 1 (2012), to decide whether a Sixth Amendment right to effective assistance

of initial-review post-conviction counsel existed. Three weeks later, on June 28, 2011,

Mr. McCann filed a habeas petition in this Court, Johnson v. Stephens, No. 4:11-cv-

02466, DE 1 (S.D. Tex. Jun. 28, 2011).2 The petition raised no new grounds for relief

and was copied nearly verbatim from the state habeas application and brief on

appeal. Mr. McCann did not raise an ineffective assistance of trial counsel claim in

state or federal court in his initial filings. Id. The petition re-raised ten claims from

the state habeas application and one claim from the direct appeal brief. 3 The state


2 Hereafter, references to filings in cause 4:11-cv-02466 before this Court will cite only the docket entry
number.
3 The single state habeas claim that Mr. McCann did not re-raise in federal court was claim “F. The

Applicant’s Confession was Taken After he had Asked for an Attorney and Thus its Admission Violated


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habeas claims were copied verbatim into the federal petition, with the single

exception that references to Mr. Johnson were changed from “applicant” to

“petitioner.” The petition did not contain a statement of facts, a procedural history,

or any writing that was not contained in the state papers.

        No new evidence was presented in support of the claims in the federal petition

and the legal arguments were not updated with relevant intervening case law. The

arguments did not follow rationally from the evidence or the case law, they were often

internally inconsistent within a given claim, and the entire petition was riddled with

grammatical errors—to the extent that numerous “sentences” were not even complete

sentences, and many more were written in a manner wholly inappropriate for a

federal pleading. Mr. McCann even posed rhetorical questions throughout the

petition, at least one of which has a well-established answer in the case law that is at

odds with the argument he was attempting to make.4 In short, there was no chance




the Prohibitions Laid out Under the Fifth and Sixth Amendments in Miranda v. Arizona, 384 U.S. 436
(1966).” This claim was a copy of the direct appeal claim that he inserted into the federal petition.
Because Claim F was an entirely record-based claim, it was non-cognizable in state habeas. See State
Bar of Texas, Guidelines and Standards for Texas Capital Counsel (2006), reprinted in Texas Bar
Journal Vol. 69, No. 10, Guideline 12.2(B)(1)(a) (“Habeas corpus counsel must understand that the
state habeas corpus proceeding is not a second direct appeal. Direct appeal-like, record-based claims
are not cognizable in state habeas corpus and can be fatal to the capital client. Counsel should not
accept an appointment if he or she is not prepared to undertake the comprehensive extra-record
investigation that habeas corpus demands.”).
4 Mr. McCann asked, “[i]n simple terms, can a mentally impaired or intoxicated person truly ever

waive their rights under police custodial questioning?” DE 1 at 17. The legal answer to that question
is “yes.” The Supreme Court has clearly established that whether a Miranda waiver is voluntary is a
question of fact, and that factors such as mental impairment and intoxication are only a part of the
voluntariness analysis. See Schneckloth v. Bustamonte, 412 U.S. 218, 226-27 (1973) (courts must
consider “all the surrounding circumstances” in determining the voluntariness of a Miranda waiver,
and the accused’s state of mind at the time of the waiver is not in and of itself determinative); see also
Colorado v. Connelly, 479 U.S. 157, 170 (1986) (“The voluntariness of a waiver[] has always depended
on the absence of police overreaching, not on ‘free choice’ in any broader sense of the word.”) (citations
omitted).


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that the state habeas claims would result in federal habeas relief for Mr. Johnson,

nor did Mr. McCann advance any argument at any point that the bars to relitigation

of those claims—28 U.S.C. §§ 2254(d) and (e)—were satisfied.

      The Director answered the petition on February 23, 2012. On March 20, 2012,

the Supreme Court decided Martinez. In Martinez, the Court did not recognize a Sixth

Amendment right to effective post-conviction counsel, but it created, for the first time,

an opportunity for some prisoners to establish cause and prejudice for procedurally

defaulted IATC claims based on deficient representation by state habeas counsel. 566

U.S. at 9. Mr. Johnson filed a reply on July 20, 2012. The only mention of the

landmark decision in the reply brief was an attempt by Mr. McCann to rely on

Martinez to excuse the procedural default of a non-Sixth Amendment claim that was

procedurally barred in state habeas because the claim was, in fact, an appellate issue

and not cognizable on collateral review. DE 13 at 11-12. The argument demonstrates

a misunderstanding of Martinez’s holding.

      On December 28, 2012, Mr. McCann unsuccessfully sought to abate the

proceeding or amend the petition to allege—for the first time—a claim that trial

counsel was ineffective for failing to present mental health evidence to rebut Mr.

Johnson’s intent at the merits phase. DE 14. Mr. McCann included language about

Martinez as justification for the request. This required Mr. McCann to assert that he

was ineffective during the state habeas process to succeed, but rather than doing so,

he advanced various arguments for why he was not at fault. This Court denied the

motion to abate or amend, finding counsel’s litigation tactics were abusive and that




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the delay in raising the IATC claim was not justified. DE 19. The Court thereafter

denied all grounds for relief, but granted a certificate of appealability (“COA”) on a

claim—preserved by direct appeal counsel—that the State had violated Edwards v.

Arizona, 384 U.S. 436, 474 (1966), by continuing to interrogate Mr. Johnson after he

had asserted his right to an attorney. DE 19, 31.

        Mr. Johnson appealed the denial of his Edwards claim and sought a COA to

appeal the denial of his claims that the Eighth Amendment should forbid the

execution of severely mentally ill persons; that Mr. Johnson was not mentally

competent to waive his rights during custodial interrogation; and that a change in

Texas evidentiary law should require a retrial of Mr. Johnson’s guilt. He also sought

a COA to appeal the denial of his motion to abate or amend his federal petition in

light of Martinez.5 The Fifth Circuit denied the requested COA and affirmed the

district court’s denial of the Edwards claim. Johnson v. Stephens, No. 14-70024, Slip

Op. (Jul. 2, 2015).

        On January 15, 2019, Mr. Johnson wrote a letter to this Court. He explained

that he was told by other inmates that Mr. McCann had a conflict of interest in

representing him; that Mr. McCann had not explained to him what was going on in

his case; and, that he was requesting new counsel. DE 65. In response to this letter,

Mr. McCann filed a sealed, unopposed response opposing Mr. Johnson’s request. DE

66. On January 29, 2018, Mr. Johnson filed a motion for appointment of counsel. DE


5A COA is not required to appeal the district court’s procedural rulings, and this issue should have
been presented as an appeal. See Ayestas v. Stephens, 817 F.3d 888, 895 (5th Cir. 2016) (“a COA is
only required of appeals of ‘final orders that dispose of the merits of a habeas proceeding’”) (quoting
Harbison v. Bell, 556 U.S. 180, 183 (2009)).


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68. On February 5, 2019, in response to a motion filed by Mr. Johnson, the Court

appointed the FPD as co-counsel. DE 70 at 2. In the order appointing the FPD to

represent Mr. Johnson, the Court decided to maintain Mr. McCann’s appointment as

lead counsel, citing the several years and phases of litigation during which McCann

has already represented Mr. Johnson and his experience with the case. DE 70 at 2.

The Court also cited the fact that McCann raised Martinez-related issues in the first

round of federal habeas proceedings. Id. That order instructed the FPD to: (1) make

a thorough and independent assessment of whether unpresented claims remain; (2)

“explore whether Johnson can establish cause for the procedural default of any

ineffective-assistance-of-trial-counsel claims pursuant to Martinez”; (3) assess

“whether those claims merit relief”; and assess (4) “whether a viable vehicle exists for

raising those claims in federal court.” Id.

    II.      Mr. McCann’s failure to fulfill basic responsibilities to Mr. Johnson
             constitutes ineffective assistance of counsel.

          Whether Mr. Johnson can establish cause to excuse the procedural default of

underlying ineffective assistance claims turns on whether Mr. McCann provided

effective assistance in state habeas.6 The FPD’s review establishes that he has not.

          After gathering Mr. Johnson’s case file, conducting substantial record review,

and initiating investigations, the FPD has concluded that numerous, unpresented

and potentially meritorious claims exist, and that Mr. McCann’s appointment is no

longer justified. The FPD discovered that Mr. McCann has not fulfilled even the most


6 The FPD recognizes that establishing cause under Martinez also requires a showing that the
underlying claim is substantial, meaning that is has “some merit.” 566 U.S. at 14. However, because
that questions parallels Section III, infra, those arguments are not repeated here.


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rudimentary duties of state habeas or CJA counsel, such as maintaining a complete

case file or conducting a reasonable investigation; despite being the only post-

conviction attorney ever given the mandate to conduct an extra-record investigation

on Mr. Johnson’s behalf, Mr. McCann has not raised a single new, case-specific fact

in state or federal habeas. Thus, his “experience” with the case appears superficial,

at best. Instead, his pleadings merely repackage the state of the record as it was

presented at trial.

      Moreover, Mr. McCann having raised Martinez issues previously is

problematic for his continued representation, rather than evidence of his superior

placement to represent Mr. Johnson. Mr. McCann has a direct conflict of interest with

Mr. Johnson relevant to Martinez-related arguments. By failing to identify and

inform the Court of that conflict, and by using Mr. Johnson’s Martinez-related

pleadings to defend his own work rather than promote his client’s interests, Mr.

McCann has only further entrenched the conflict and prejudiced his client. The

conflict between Mr. McCann and Mr. Johnson continues today because, to render

any of the claims Mr. McCann has not raised procedurally viable in state or federal

court at this stage of his proceedings, Mr. Johnson must make arguments that focus

substantially on his failure to raise potentially meritorious claims in initial state and

federal collateral review. Maintaining Mr. McCann’s appointment will fatally

prejudice Mr. Johnson.




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      A.     Mr. McCann failed to collect Mr. Johnson’s case file.

      A basic duty of post-conviction counsel is collecting the client’s entire case file,

which requires reaching out to the client’s prior attorneys, investigators, and experts

who have worked on the case over the years. The duty of post-conviction counsel to

collect the client’s entire case file is well-established. State Bar of Texas, Guidelines

and Standards for Texas Capital Counsel (2006), reprinted in Texas Bar Journal Vol.

69, No. 10, Guideline 11.1.B (“Counsel at every stage have an obligation to conduct a

full examination of the defense provided to the client at all prior phases of the case.

This obligation includes at a minimum interviewing prior counsel and members of

the defense team and examining the files of prior counsel.”); American Bar

Association, Guidelines for the Appointment and Performance of Defense Counsel in

Death Penalty Cases (2003), reprinted in 31 Hoftstra L. Rev. 913, Guideline 10.7.B.1

(same); National Legal Aid and Defender Association, Standards for the Appointment

and Performance of Counsel in Death Penalty Cases (1988), Standard 11.9.3(b) (“With

the consent of the client, postconviction counsel should obtain and review all prior

counsels’ file(s).”). Yet, Mr. McCann failed to perform this basic function, an

inexcusable omission. While few errors constitute per se ineffective assistance of

counsel, Mr. McCann’s failure to collect Mr. Johnson’s case file should qualify as such.

      After appointment, the FPD began reaching out to various prior attorneys and

critical trial team members. A troubling fact pattern emerged—that Mr. McCann had

either never, or only recently, requested files from them. Anthony Osso, Mr. Johnson’s

second chair counsel from trial, was contacted less than a week after the appointment

of the FPD. At that time, Mr. Osso informed the FPD that Mr. McCann had first


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requested his files only the previous week—the same week that the FPD was appointed.

It is unlikely to be coincidental that, in the same time frame that this Court appointed

co-counsel to assess whether Mr. McCann had provided ineffective assistance, he

reached out to Mr. Osso to at last collect these files. Mr. Osso’s files contain a

substantial amount of material that is critical to the development of potential habeas

corpus claims. There is no viable excuse for why Mr. McCann was unable to complete

this basic task in the previous ten-plus years that he represented Mr. Johnson.

      Similarly, Mr. McCann failed to collect files from lead trial counsel Jim Leitner.

The materials from Mr. Leitner, which the FPD received, amount to four full bankers

boxes of various materials. Additionally, the trial team’s mitigation investigator,

Danalynn Recer, had a large quantity of boxes containing various records, and

additional materials in electronic format. None of these files were collected by Mr.

McCann.

      In sum, the files Mr. McCann neglected to collect and review are a substantial

quantity of both paper and electronic files. These files contain critical information

relevant to possible claims for relief for Mr. Johnson. Mr. McCann’s failure to

complete this basic task unmistakably supports that his performance in representing

Mr. Johnson was far below prevailing professional norms for capital post-conviction

counsel.




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      B.     Mr. McCann violated his professional and ethical duties to Mr.
             Johnson by defending his state habeas representation while
             nominally seeking excusal from procedural default under
             Martinez v. Ryan.

      On June 28, 2011, Mr. McCann filed an initial federal habeas petition. DE 1.

The petition re-raised claims and allegations that had been presented in state court.

It did not allege any claims that were not presented in state court, and no pre-petition

requests were made for auxiliary services to pursue new lines of investigation.

      On December 28, 2012, nine months after Martinez was announced, Mr.

McCann filed a motion seeking to stay the federal proceeding, arguing that “[r]ecent

developments in the law have caused habeas counsel to re-evaluate not only the facts

of this case but also his sworn duty to the client.” DE 14 at 1. The motion exposed the

fact that McCann had realized, after filing the initial state habeas application, that

he should have raised, but did not raise, allegations that trial counsel failed to present

evidence of Mr. Johnson’s “psychological and biological mental impairment” during

the merits phase of trial to demonstrate an absence of the requisite intent to commit

capital murder. Id. at 2-3. Although the arguments in the motion are convoluted, they

clearly undermined Mr. Johnson’s possibility of securing relief from default under

Martinez: “In this motion, the Petitioner will also address the interplay of the

timelines under Texas’ Article 11.071 as regards state habeas counsel’s initial

decision to pursue these claims as structural matters rather than as deprivation of

effective counsel.” Id. at 3 (emphasis added).

      Mr. McCann attributed his failure to raise the IATC claim in state habeas to

Mr. Johnson’s trial and direct appeal representatives, to the Texas Rules of Criminal


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Procedure, and to the trial court, all of which, he argued, worked together to

“foreclose” his ability to timely present the record-based IATC claim in the initial

state habeas application:

       In this case the appellate lawyer failed to raise these matters regarding
       capacity and ineffective assistance [presumably IATC for failure to
       present evidence contesting Mr. Johnson’s intent] via motion for new
       trial. The trial attorney did not present these matters at guilt innocence
       phase. Thus these matters, unless raised by habeas counsel now, are
       forever waived for the client.
       Given the changes in this area of law, and what appears to be a
       substantive sea change in the nature of post conviction representation,
       the appointed writ counsel now believes he was remiss in failing to
       submit ineffective assistance of counsel challenges to both the trial
       attorney and direct appeal attorney. Based on the procedural time
       constraints set forth in Article 11.071, Texas Code of Criminal Procedure
       counsel neither had the time nor resources to develop and present the
       claim(s) or develop the evidence of Petitioner’s psychological and
       biological impairments, thus foreclosing any effort of undersigned
       counsel by procedural bar as argued by the state’s attorney and adopted
       by the state habeas court. Habeas counsel sought both discovery and
       evidentiary hearing in state court and was denied by the court. Then the
       state habeas court penalized Petitioner for not raising the claim. Thus
       this no longer appears to be a matter of deciding as a tactical matter
       which claims can best be fitted into procedural hurdles, but rather is
       more in the nature of ensuring that all possible valid grounds are
       properly presented and exhausted on behalf of the client, despite the
       procedural hurdles thrown up under 11.071 and the trial court’s denial
       of discovery.
Id. at 8-9.

       To summarize, sometime before the CCA denied Mr. Johnson habeas relief,

Mr. McCann identified a record-based claim that he should have raised in the initial

state habeas application. See Section II(D), infra. After neglecting to include the claim

in the state habeas application, he then failed to raise the claim in the federal habeas




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petition and sought no auxiliary services from the federal court to assist him in

investigating and developing the claim. Only after Martinez was announced did Mr.

McCann seek leave to amend the claim into the federal habeas petition and/or return

to state court to seek merits review. But he also argued in that motion that he had

not been ineffective in state habeas, a required showing to obtain relief from

procedural default under Martinez.7

       At the time Martinez was decided, several state habeas counsel were

representing their clients in federal habeas. To the best of the FPD’s knowledge, Mr.

McCann is the only attorney that identified a claim that he had defaulted in state

habeas, nominally argued that the claim should be considered under Martinez, and

then provided the Court with numerous excuses for his failure to raise the claim in

state habeas, in contravention of his client’s interests. And just two months ago, Mr.

McCann filed a document in this Court arguing against his client’s request for

conflict-free counsel to investigate, inter alia, the effectiveness of his state habeas

representation.

       The Fifth Circuit began appointing conflict-free counsel to petitioners in Mr.

Johnson’s position in 2015, specifically instructing conflict-free counsel to conduct

investigations into defaulted ineffectiveness claims. Mendoza v. Stephens, 783 F.3d

203 (5th Cir. 2015); Speer v. Stephens, 781 F.3d 784 (5th Cir. 2015). The fact that Mr.

McCann refused to request the same relief for Mr. Johnson, and went so far as to

identify a defaulted ineffectiveness claim and then defend his state habeas


7 Mr. McCann also sought to amend the petition to include a claim that direct appeal counsel was
ineffective for failing to raise the IATC claim in a motion for new trial.


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representation on the record, without a single officer of the courts raising a flag or

instructing Mr. Johnson of his rights, was a plain violation of 18 U.S.C. § 3599.

      C.     Mr. McCann failed to inform Mr. Johnson of his conflict of
             interest under Martinez v. Ryan.

      Rule 1.06 of the Texas Disciplinary Rules of Professional Conduct states in

relevant part:

      (b) . . . [E]xcept to the extent permitted by paragraph (c), a lawyer shall
          not represent a person if the representation of that person:
             (2) reasonably appears to be or become adversely limited . . . by
             the lawyer’s or law firm’s own interests.
      (c) A lawyer may represent a client in the circumstances described in (b)
          if:
             (1) the lawyer reasonably believes the representation of each
                 client will not be materially affected; and

             (2) each affected or potentially affected client consents to such
                 representation after full disclosure of the existence, nature,
                 implications, and possible adverse consequences of the
                 common representation and the advantages involved, if any.


      Comment 4 to Rule 1.06 states,

      The critical questions are the likelihood that a conflict exists or will
      eventuate and, if it does, whether it will materially and adversely affect
      the lawyer’s independent professional judgment in considering
      alternatives or foreclose courses of action that reasonably should be
      pursued on behalf of the client. It is for the client to decide whether the
      client wishes to accommodate the other interest involved.

(Emphasis added). And Comment 5 specifically notes that “[i]f the probity of the

lawyer’s own conduct in a transaction is in question, it may be difficult for the lawyer

to give a client detached advice.”




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      These rules were in existence at the time Martinez was decided. Mr. McCann

had a duty, at that time, to inform Mr. Johnson of the conflict that had arisen,

recommend that Mr. Johnson consult with independent legal counsel to assist him in

deciding whether to waive the conflict, and request independent counsel from this

Court. Based on the letters filed by Mr. Johnson, it is clear that he did not inform Mr.

Johnson of the conflict at that time. DE 65, 68. Mr. Johnson did not learn of his

lawyer’s conflict until years later, when another prisoner explained it to him.

      Mr. McCann should have been aware of this issue. At the latest, by the time

Mr. McCann attempted to raise a claim under Martinez, or by the time the Supreme

Court decided Christeson v. Roper, 135 S. Ct. 891, 894 (2015), or after numerous Fifth

Circuit and district court orders appointing conflict-free counsel under Martinez, he

was on notice that he had a duty to confer with his client and the courts.

      D.     Mr. McCann failed to timely present claims for relief in
             accordance with state law.

      Mr. McCann’s unsuccessful attempt to abate the proceeding or amend the

petition to allege—for the first time—a claim that trial counsel was ineffective for

failing to present mental health evidence to rebut Mr. Johnson’s intent at the merits

phase was filed years too late. In the motion, Mr. McCann relied on Martinez, but he

simultaneously argued that his state habeas representation was not ineffective, in

direct contravention of Mr. Johnson’s interests. Not only did the motion demonstrate

that a conflict of interest had arisen between Messrs. McCann and Johnson, but

McCann made arguments about the Texas state post-conviction process that plainly




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showed his unfamiliarity with the well-established rules contained in Texas Rules of

Criminal Procedure Article 11.071.

      The motion claimed that McCann moved for discovery to develop the defaulted

IATC claim at a state habeas hearing after the initial state habeas application was

filed, which was denied. DE 14 at 2. McCann’s subsequent attempt to amend the

application was denied. Id. at 2-3. The motion concludes, “[s]o, first, an opportunity

to pursue these matters was denied by the state trial court, acting as an investigative

arm of the Court of Criminal Appeals.” Id. at 3. The error in state habeas was,

therefore, a “structural matter[]” rather than ineffective assistance by McCann. Id.

      As a principal matter, McCann promised to attach the transcript from the state

habeas hearing referenced in both the reply brief and the motion to abate or amend,

but never did attach the transcripts. DE 13, 15. The state habeas court did not hold

an evidentiary hearing on the initial state habeas application, nor does the docket

show that any other hearing was held. Regardless, the IATC claim that McCann

attempted to raise in federal court relied entirely on the penalty-phase evidence from

trial and did not attempt to introduce new evidence. The claim argued that trial

counsel should have pursued a litigation strategy that front-loaded the mitigation

evidence to the merits-phase of trial, not that trial counsel failed to undertake an

adequate investigation. Therefore, no discovery or investigations were necessary to

substantiate the allegation, at least at the pleading stage.

      Mr. McCann additionally complained that Texas procedural rules effectively

prohibited him from adequately representing his client in state habeas because they




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disallow post-application investigations, discovery and amendment. DE 15 at 2-3, 10.

This is simply not true, as the claim could have, and should have, been pled in the

initial state habeas application. This particular IATC claim required no

investigations or discovery to plead. Moreover, Texas Rules of Criminal Procedure

Article 11.071, Section 3(a) states, “[u]pon appointment, counsel shall investigate

expeditiously . . . the factual and legal grounds for the filing of an application for a

writ of habeas corpus.” The Rules also clearly state that an amended or supplemental

application that is not filed by the deadline for the initial application shall be treated

as a subsequent application and will be subject to the successive petition

requirements. Tex. Code Crim. Pro. art. 11.071 § 5(f). These rules were in place at the

time Mr. McCann was appointed to represent Mr. Johnson, and he was on notice of

his professional obligations. There is simply no excuse for not raising a claim that

was based entirely on the record on appeal in the initial application:

      Habeas corpus counsel should assume that any meritorious issue not
      contained in the first state application for writ of habeas corpus will be
      waived or procedurally defaulted in subsequent federal habeas corpus
      litigation, or barred by strict rules governing successive state habeas
      corpus applications. State habeas corpus counsel’s lack of diligence,
      mistakes, missteps, and omissions will be attributed to the capital client
      and will follow the client throughout all remaining proceedings in state
      and federal court.

State Bar of Texas, Guidelines and Standards for Texas Capital Counsel (2006),

reprinted in Texas Bar Journal Vol. 69, No. 10, Guideline 12.2(B)(1)(e) (emphasis

added).




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   III.        Several unpresented, potentially meritorious, claims for relief
               exist that Mr. McCann has failed to raise.

          As noted above, Mr. McCann did not gather Mr. Johnson’s files during his more

than ten-year appointment, so the FPD was forced to spend valuable time and

resources completing work that Mr. McCann inexcusably neglected. An initial review

of the available materials has brought to light numerous viable claims for relief that

Mr. McCann failed to investigate or present to the courts for review. Evidence of Mr.

McCann’s ineffectiveness in state habeas and his failure to satisfy the duties of CJA

counsel in federal habeas will be essential to securing merits review of these claims,

as explained in Section IV, infra.

          Further investigations and development are required before the identified

claims can be substantiated with sufficient evidence to prevail, and they are therefore

not ripe for judicial review. Additionally, more claims may arise as the FPD continues

its work. With that disclaimer, the claims identified for further development are

listed below to identify for the Court claims that Mr. McCann failed to litigate.

          A.     Mr. Johnson likely qualifies for a diagnosis of intellectual
                 disability.

          At trial, the defense presented evidence from Dr. Dale Watson that it was “a

possibility” that Mr. Johnson was intellectually disabled. 31 RR 206. He scored a full

scale IQ of 78 on the Stanford-Binet-5 and an IQ of 88 on the WAIS-III. Id. at 109,

203. This placed Mr. Johnson at the functional equivalent of a ten-year-old. Id. at

201. According to Dr. Watson, based on a variety of factors, Mr. Johnson’s actual IQ

was somewhere between 74 and 88. Later, at a hearing outside of the jury’s presence,




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Dr. Watson explained that he did not think Mr. Johnson met the current criteria

(from the DSM-IV) for a diagnosis of intellectually disability, and that an adaptive

functioning analysis was not conducted. Id. at 263.

      In Atkins v. Virginia, the Supreme Court held that the Eighth Amendment ban

on cruel and unusual punishment categorically prohibits the execution of

intellectually disabled individuals. 536 U.S. 304, 307 (2002). While the Supreme

Court left to the states the task of developing appropriate ways to enforce the

categorical exemption, it “did not give the States unfettered discretion.” Hall v.

Florida, 134 S. Ct. 1986, 1998 (2014). Rather, the states’ assessment of ID claims

must be informed by the opinions of the medical community. Id. at 1993, 1998. The

most recent and current opinions of the medical community are found in the Fifth

Edition of the American Psychiatric Association’s Diagnostic and Statistical Manual

of Mental Disorders (“DSM-5”) and the Eleventh Edition of the American Association

on Intellectual and Developmental Disabilities’ Intellectual Disability: Definition,

Classification, and Systems of Supports (“AAIDD Manual”). Moore v. Texas, 137 S.

Ct. 1039, 1048 (2017). To prove intellectual disability, a defendant must establish (1)

deficits in intellectual functioning, (2) deficits in adaptive functioning, and (3) the

onset of deficits during the developmental period. See Hall, 134 S. Ct. at 1994; DSM-

5 at 33; AAIDD Manual at 5.

      Significant legal and medical developments have occurred since Mr. Johnson’s

trial that raise a substantial likelihood that he is intellectually disabled. In Hall, the

Supreme Court held that it was impermissible to use a strict cutoff for IQ scores above




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70 used to defeat intellectual disability claims. 134 S. Ct. at 714. Moreover, in March

2017, the Supreme Court held in Moore that Texas’s implementation of Atkins was

unconstitutional because it created “an unacceptable risk that a person with

intellectual disabilities will be executed in violation of the Eighth Amendment,” and

that State’s determination of intellectual disability must take into account the

medical communities diagnostic criteria. 137 S. Ct. at 1044. In light of the

development in Moore, the Texas Court of Criminal Appeals has found numerous

individuals to meet the successive petition requirements on intellectual disability

claims. See, e.g., Ex parte Long, 2018 WL 3217506 (Tex. Crim. App. June 27, 2018)

(“In light of the Moore decision and the facts presented in applicant’s application, we

found that applicant’s execution should be stayed . . . [and] now find that applicant

has satisfied the requirements of Article 11.071, § 5”); Ex parte Guevara, 2018 WL

2717041 (Tex. Crim. App. June 6, 2018) (“We find that, in light of Moore, applicant

has satisfied the requirements of Article 11.071 § 5(a)(1) with regard to his first

allegation in the instant subsequent writ application.”); Ex parte Williams, 2018 WL

2717039 (Tex. Crim. App. June 5, 2018) (“In light of the Moore decision and the facts

presented in applicant’s application, we find that applicant has satisfied the

requirements of Article 11.071 § 5.”).

      The medical community’s framework for diagnosing intellectual disability has

shifted since Mr. Johnson’s trial with the publication of the DSM-5 in 2013. In

particular, the DSM-5 places heightened focus on adaptive functioning deficits as

opposed to IQ scores. Ex. 1 at 1 (noting that “the severity of impairment [is] based on




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adaptive functioning rather than IQ test scores alone.”). In fact, the DSM-5 went so

far as to remove IQ scores from the diagnostic criteria itself, while noting that it

should remain part of the overall assessment. Id. at 1-2. The “DSM-5 ensures that

[IQ scores] are not overemphasized as the defining factor of a person’s overall ability,

without adequately considering functioning levels. Id. at 1-2. Moreover, “[t]his is

especially important in forensic cases.” Id. at 2.

      These legal changes are particularly salient in Mr. Johnson’s case, where,

despite significant evidence in the trial record of adaptive functioning deficits, the

analysis of whether he was intellectually disabled was short-circuited by his IQ

scores. 31 RR 263. Testimony was presented from multiple witnesses that Mr.

Johnson was (1) slow; (2) different; (3) developmentally delayed; (4) had speech

issues; (5) had numerous head injuries as a child; (6) was abused; (7) was not a leader;

(8) was in special education classes (9) struggled to read; and (10) had brain damage.

31 RR 34-35; 40-41, 50, 55, 81, 101, 114, 145-46; 32 RR 29, 201, 208. The FPD has

consulted with Dr. Watson regarding his testimony, and he has informed them that,

while he stands by the accuracy of his trial testimony under clinical norms that

existed in 2007, changes in the criteria for intellectual disability warrant full

investigation into Mr. Johnson’s adaptive functioning, and that his IQ scores would

not preclude a diagnosis of intellectual disability.

      Mr. McCann has correctly identified this issue in his recent filings as one worth

pursuing. However, his delay in pursuing this potential meritorious issue is




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unjustified under the circumstances, and may be important evidence supporting

merits review of the claim at this late stage.

      B.     Trial counsel were ineffective for failing to preserve error when
             the State misstated the law during punishment phase closing
             arguments and claimed that mitigating evidence must be
             connected to the crime.

      The State pressed several arguments at the penalty phase of Mr. Johnson’s

trial that directly undermined the jury’s ability to give effect to the voluminous

mitigation evidence Mr. Johnson had presented, including that he had a low IQ, brain

damage, schizophrenia, was barely over 18 at the time of the crime, and suffered

numerous traumatic incidents over the course of his life. The State’s argument that

this evidence was legally irrelevant violated decades of Supreme Court precedent

holding that mitigating evidence does not need to have a nexus to the offense. See

Smith v. Texas, 543 U.S. 37, 45 (2004) (explaining that no prior Supreme Court

opinions required a nexus between the mitigating evidence and the crime); Eddings

v. Oklahama, 455 U.S. 104, 112 (1982) (“[T]he sentencer in capial cases must be

permitted to consider any relevant mitigating factor[.]”); Lockett v. Ohio, 438 U.S.

586, 604 (1978) (“[T]he Eighth and Fourteenth Amendments require that the

sentencer, in all but the rarest kind of capital case, not be precluded from

considering, as a mitigating factor, any aspect of a defendant's character or record

and any of the circumstances of the offense that the defendant proffers as a basis for

a sentence less than death.”); see also Penry v. Johnson, 532 U.S. 782 (2001); Penry v.

Lynaugh, 492 U.S. 302 (1989).




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      The prosecutor told the jury during closing argument that, in regard to the

mitigation evidence offered at trial, “[n]one of those things have any connection to

this offense. There is nothing that you heard is [sic] mitigating because it doesn’t

reduce this defendant’s moral blameworthiness. It has no connection to the crime that

he committed. And that’s what our law says mitigation is.” 34 RR 17 (emphasis

added). Numerous similar arguments were made by the State erroneously asserting

that mitigating evidence required a nexus to the offense. Id. at 17 (“Is there anything

about the facts in this case that reduce the moral blameworthiness of this defendant

for her death in the way she died?”); id. at 91 (“What is the correlation between [Mr.

Johnson’s low IQ] and killing and robbing and raping people? There is none.”); id. at

99 (“[T]hose [potentially mitigating] factors do not have any bearing on whether

you’re going to grow up to kill people.”); id. (“There’s no correlation between any of

the [potentially mitigating] factors they put forth and criminal violence. There’s no

connection.”)

      The prosecutor’s argument was at odds with clearly established federal law

regarding mitigation evidence. See Penry I, 492 U.S. at 327-28 (jury must be allowed

to consider and give effect to mitigating evidence relevant to a defendant’s character,

or record, or the circumstances of the offense). While trial counsel did object to the

first misstatement of the law and was overruled, 34 RR 17, none of the other

misleading arguments referenced above by the prosecutor were objected to. As such,

the error was waived on direct appeal. Tex. R. App. P. 33.1. Trial counsel’s failure to

object is a substantial claim of ineffective assistance of counsel.




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      C.     A State witness presented false testimony that Mr. Johnson
             was eligible for a less-restrictive custody classification, and
             trial counsel were ineffective for eliciting that testimony.

      On June 26, 2007, Steven Rogers was called as a witness by the State during

the punishment phase of Mr. Johnson’s trial. At the time of trial, Mr. Rogers worked

for the Texas Department of Criminal Justice (“TDCJ”) as a classifications committee

member, and he testified regarding classification procedures for individuals convicted

of capital murder. 33 RR 102. He explained that TDCJ’s classification system includes

five levels, G-1 through G-5. Id. at 105. G-5 is the most restrictive classification in

TDCJ. According to Mr. Rogers, individuals convicted of capital murder and

sentenced to life are classified initially as G-3. Id. On cross examination, Mr. Rogers

explained that, for individuals convicted of capital murder and sentenced to life in

prison, there is a “10-year restriction for the G-3 custody to upgrade to G-2, which is

to be held in minimum custody[.]” Id. at 137.

      Mr. Rogers’ testimony that Mr. Johnson would be eligible to be classified at the

G-2 level after ten years was false. In Estrada v. State, the Texas Court of Criminal

Appeals reversed the appellant’s death sentenced and remanded for a new

punishment phase after the State’s witness falsely testified that, after ten years, an

individual convicted of capital murder and sentenced to life could have his

classification downgraded to the less-restrictive G-2 status after ten years. 313

S.W.3d 274 (2010). The court cited a July 2005 TDCJ regulation that stated

“[e]ffective 9/01/05, offenders convicted of Capital Murder and sentenced to ‘life

without parole’ will not be classified to a custody less restrictive than G-3 throughout




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their incarceration.” Id. at 287. Similarly to Estrada, this issue is potentially

meritorious as a false testimony claim. And, as the testimony was elicited by trial

counsel, an allegation that doing so constituted ineffective assistance is equally

meritorious.

      D.       Significant unpresented issues remain regarding Mr. Johnson’s
               conviction.

      Considerable testimony at the penalty phase of his trial was presented that

Mr. Johnson’s functional age was ten years old. 31 RR 201; see also 3 CR 622 (Texas

v. Johnson, No. 1085483, Motion for Instructed Verdict Based on Mental Age (208th

D.Ct. Jun. 27, 2007)). He also, unlike some of his co-defendants, had no prior

convictions for violent offenses. Yet he was convicted and sentenced to death based

on evidence originating almost entirely from co-defendants and informants that he

master-minded and instructed his co-defendants through a series of robberies and

murders. The FPD is investigating the guilt-phase allegations with an eye toward

raising IATC, false testimony and other prosecutorial misconduct claims based on

new evidence that Mr. Johnson was not the master-mind of the offenses for which he

and his co-defendants were convicted. These issues will potentially result in claims

under Strickland v. Washington, 466 U.S. 688 (1984), Brady v. Maryland, 373 U.S.

83 (1963), Napue v. Illinois, 360 U.S. 264 (1959), and other legal avenues.

      Mr. McCann has also identified this issue in his recent request for court

funding to conduct an end-stage investigation. DE 75. But, the arguments required

to have the claims heard on the merits will require presentation of evidence of Mr.




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McCann’s unreasonable performance in state and federal habeas, making Mr.

McCann a witness rather than a disinterested representative.

       E.        Trial counsel were ineffective for failing to investigate and
                 present evidence that Mr. Johnson lacked the requisite intent to
                 commit capital murder.

       As previously noted, Mr. McCann filed a motion seeking to stay the federal

proceeding to allow him to present a claim in state court that trial counsel failed to

present evidence of Mr. Johnson’s “psychological and biological mental impairment”

during the merits phase of trial to demonstrate an absence of the requisite intent to

commit capital murder. DE 14 at 2-3. The FPD concurs with Mr. McCann’s

assessment that this claim is potentially meritorious; however, Mr. McCann should

have presented this issue in Mr. Johnson’s initial state habeas application. And, as

explained below in Section IV, infra, this claim has potential avenues still available

to present it.

       F.        Mr. Johnson’s trial counsel worked for the Harris County
                 District Attorney’s Office without appropriate protective
                 measures in place.

       Jim Leitner, lead counsel for Mr. Johnson, currently works in a supervisory

position with the Harris County District Attorney’s Office (“HCDAO”)—the same

Office that secured Mr. Johnson’s conviction and death sentence. After Mr. Johnson’s

trial, Mr. Leitner joined the HCDAO in 2009, where he served as the First Assistant

until 2012. Ex. 2 at 1. Appropriately, on July 22, 2009, the HCDAO voluntarily

recused itself from participating in the ongoing legal proceedings, and Brian Wice

was appointed as attorney pro tem to act as a special prosecutor in the state habeas



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corpus proceedings. Id. Subsequently, Mr. Leitner left the HCDAO, and the trial

court terminated the appointment of Mr. Wice, finding that “the conflict prompting

the appointment of a district attorney pro tem in the applicant’s case no longer

exists,” and allowed the HCDAO back on the case. Id. at 3.

       The conflict of interest remerged in January of 2017, when Mr. Leitner rejoined

the HCDAO. This time, the HCDAO did not voluntarily recuse themselves. Instead,

on March 22, 2017, the HCDAO directly contacted Mr. Johnson via letter,8 informing

him that his case may be implicated by errors regarding DNA mixture calculations.

Ex. 3. The letter requested that Mr. Johnson himself respond directly to the HCDAO

if he would like any DNA mixture evidence in his case recalculated. Id. Mr. Johnson,

did, in fact, respond and request that his case be assessed.

       Despite having directly contacted Mr. Johnson while Mr. Leitner was

employed there, the HCDAO took no action regarding the obvious conflict of interest

until November 28, 2018, when they screened Mr. Leitner “from all current and

future litigation involving Mr. Johnson.” Ex. 4 at 2. This screening, which Mr.

Johnson does not concede adequately resolved the conflict of interest, did not occur

until approximately 23 months after Mr. Leitner rejoined the HCDAO. While this

issue does not directly implicate Mr. Johnson’s conviction or sentence, it raises

serious questions about the propriety of the HCDAO participating in any aspect of

Mr. Johnson’s case, including the setting of an execution date.




8The HCDAO’s directly contacting Mr. Johnson, while he was represented by counsel, raises serious
ethical questions in and of itself.


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         G.      New discovery from the State could lead to relief.

         On February 19, 2019, the State provided Brady notices of two developments

that may have a bearing on Mr. Johnson’s case. Said notices were not served on the

FPD, but were posted to the Harris County district court’s docket.

         One notice informs that a 2009 audit of the Houston Police Department

(“HPD”) Latent Print Lab found significant technical errors by three examiners (in

121 cases audited for Ralph Saldivar, 48% had technical errors; in 126 cases audited

for Jim Schraub, 64% had technical errors; and in 124 cases audited for Jerry Werner,

52% had technical errors). The auditors stated that “the HPD Latent Print Examiners

were unable to meet ‘current industry standards’.” Ex. 5.

         A second notice informs that Senior HPD Officer Todd W. Miller resigned in

2016 in light of his violation of orders related to internal directives, including

“Conduct and Authority – Sound Judgment, Truthfulness, and Knowledge of and

Obedience to Laws and Rules.” HPD issued a “not to be considered for rehire” letter.

Ex. 6.

         The FPD is investigating the impact of these notices on potential litigation

related to prosecutorial misconduct, including why the notices were provided several

years after the relevant incidents and on the eve of Mr. Johnson’s execution.

   IV.        Viable vehicles exist in both state and federal court to litigate the
              unpresented claims.

         The potentially meritorious claims chronicled above are all currently

unexhausted—none were presented to the state court—yet potential avenues for

relief still exist in that venue. Moreover, the eventual disposition of these claims in



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state court will inform the appropriate method for their presentation in federal court.

In light of this, state court is the appropriate forum for the initial litigation of these

claims.

      A.     State court vehicles.

      Article 11.071, § 5(a) of the Texas Code of Criminal Procedure presents three

avenues for the authorization of successive state habeas writs:

      (1) the current claims and issues have not been and could not have been
      presented previously in a timely initial application or in a previously
      considered application filed under this article or Article 11.07 because
      the factual or legal basis for the claim was unavailable on the date the
      applicant filed the previous application;


      (2) by a preponderance of the evidence, but for a violation of the United
      States Constitution no rational juror could have found the applicant
      guilty beyond a reasonable doubt; or


      (3) by clear and convincing evidence, but for a violation of the United
      States Constitution no rational juror would have answered in the state's
      favor one or more of the special issues that were submitted to the jury
      in the applicant's trial under Article 37.071, 37.0711, or 37.072.

The unpresented claims identified in this motion have one or more potentially viable

argument for authorization under this statute.

      The claims identified in Section III(A-E), supra, should all have been raised in

Mr. Johnson’s initial state habeas corpus application, but they were not. For each of

these issues, it can be asserted that, similar to the Martinez standard in federal court,

they should be considered now on their merits in state court. Various judges of the

Texas Court of Criminal Appeals have indicated that, in a compelling case, they




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would authorize applications to proceed under a similar theory. See Ex parte Alvarez,

2015 WL 1956254, at *1 (Yeary, Johnson & Newell, JJ., concurring); Ex parte Buck,

418 S.W.3d at 109 (Alcala, J., dissenting); Ex parte McCarthy, 2013 WL 3283148 at

*1 (Meyers, J., concurring); id. at *5 (Alcala & Johnson, JJ., dissenting). Moreover,

Mr. McCann has an unmistakable conflict of interest regarding these issues, and is

unable to raise them himself.

      A Martinez-type analysis is perfectly consistent with the plain language of

Article 11.071 § 5(a)(1), which allows claims to procced when “the factual or legal

basis for the claim was unavailable on the date the applicant filed the previous

application[.]” Under general agency principles, an attorney’s failures are, in most

instances, attributed to the client. However, when and attorney provides ineffective

assistance of counsel, that failure is attributed to the State itself. See Davila v. Davis,

137 S. Ct. 2058, 2065 (2017) (explaining the general rule that attorney error

“amounting to constitutionally ineffective assistance is ‘imputed to the State’ and is

therefore external to the prisoner,” but that attorney error “that does not violate the

Constitution . . . is attributed to the prisoner ‘under well-settled principles of agency

law.’” (citing Coleman v. Thompson, 501 U.S. 722, 754 (1991)). Taking into

consideration the evolution of agency law exceptions in the habeas context, it logically

follows that, if an applicant such as Mr. Johnson received ineffective assistance of

counsel in state habeas proceedings, then unraised but meritorious claims that were

de facto unavailable to him because his attorney failed to meet minimum professional




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standards were also de jure unavailable. Martinez, 566 U.S. 1; Maples v. Thomas, 566

U.S. 266 (2012).

      Moreover, the following authorization arguments exist under state law for the

aforementioned claims that are potentially meritorious, in addition to Mr. McCann’s

ineffectiveness:

   (1) Claim III(A), that Mr. Johnson likely qualifies for a diagnosis of intellectual

      disability can be raised under both § 5(a)(1) and § 5(a)(3);

   (2) Claim III(B), that trial counsel were ineffective for failing to preserve error

      when the State misstated the law during punishment phase closing arguments

      and claimed that mitigation evidence must be connected to the crime can be

      raised under § 5(a)(3);

   (3) Claim III(C), that a state witness presented false testimony that Mr. Johnson

      was eligible for a less-restrictive custody classification, and that trial counsel

      were ineffective for eliciting that information, can be raised under both §

      5(a)(1) and § 5(a)(3);

   (4) Claim III(D), that significant unpresented issues remain regarding Mr.

      Johnson’s conviction can be raised under both § 5(a)(1) and § 5(a)(2);

   (5) Claim III(E), that trial counsel were ineffective for failing to investigate and

      present evidence that Mr. Johnson lacked the requisite intent to commit

      capital murder can be raised under § 5(a)(1);




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   (6) Claim III(G), new discovery from the State, upon the completion of

      investigation, could be potentially raised under both § 5(a)(1), § 5(a)(2), and §

      5(a)(3).

The sheer volume of plausible arguments under which these claims could be

authorized to proceed according to state law adds substantial weight to the current

motion.

      B.     Federal court vehicles.

      As noted above, the proper vehicle for raising these issue will hinge in large

part on the state court’s disposition of these claims. Those vehicles may include a

petition for writ of habeas corpus under 28 U.S.C. § 2254, a successive petition for

writ of habeas corpus under 28 U.S.C. § 2244, or a motion for relief from judgment

under Federal Rule of Civil Procedure 60(b).

      Irrespective of the eventual disposition of these claims by the state courts, a

Rule 60(b) motion based Mr. McCann’s failure to inform Mr. Johnson of his conflict

of interest is potentially meritorious. At the latest, as soon as the Supreme Court

decided Trevino v. Thaler, 569 U.S. 413, finding Texas petitioners are among those

that may seek to litigate defaulted IATC claims under Martinez, Mr. McCann had an

undeniable conflict of interest that adversely limited the scope of his representation.

The conflict was not brought to Mr. Johnson’s attention by any officers of the court,

and therefore Mr. Johnson was not able to assert his right to conflict-free

representation.

      The Fifth Circuit has held that a Rule 60(b) motion predicated on the assertion

that the petitioner was represented by counsel that had a conflict of interest, and


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seeking to proceed in federal habeas with conflict-free counsel, is proper. See In re

Paredes, 587 Fed. App’x. 805 (5th Cir. 2014), cert. denied, 135 S. Ct. 433 (2014). The

FPD is investigating the extraordinary circumstances that will justify reopening Mr.

Johnson’s case under Rule 60(b)(6). Mr. Johnson appears to have several

extraordinary circumstances in his case, including the fact that he is the only capital

federal habeas petitioner in Texas whose conflicted attorney went so far as to identify

an IATC claim that he defaulted in state habeas, attempted to raise the claim under

the theory that the default was excused by Martinez, and then, while still

representing the client, affirmatively defended the quality of his own state habeas

representation.

   V.     The present representation arrangement, under which two legal
          teams are tasked with independently pursuing investigations and
          litigation in anticipation of his May 2, 2019 execution date, risks
          fatal prejudice to Mr. Johnson.

        Traditionally, the state and federal courts have disallowed hybrid

representation, under which a defendant or habeas petitioner is represented by

counsel while simultaneously representing himself. See Lee v. Alabama, 406 F.2d 466,

469 (5th Cir. 1968) (federal habeas petitioners have the right to represent themselves

or be represented by counsel, but have no right to a hybrid representation); Rudd v.

State, 616 S.W.2d 623, 625 (Tex. Crim. App. 1981) (there is no state law right to

hybrid representation). Hybrid representation is not forbidden by federal rule or

statute, but the risks it poses to defendants’ and petitioners’ rights are apparent. See

Battaglia v. Stephens, 2013 WL 5570216 (N.D. Tex. 2013) (terminating hybrid




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representation, after referring to it as “an unusual and risky procedure,” as evidenced

by a missed filing deadline) (unpublished).

      The Court’s February 5, 2019 order appointing the FPD did not establish a

traditional hybrid representation scheme under which one of the representatives is

Mr. Johnson himself. However, it did create an equally risky hybrid representation

scheme under which two legal teams are proceeding separately and independently

with investigations and eventually litigation. The litigation each team decides to

pursue may be redundant of the other’s efforts, or worse, it may be in direct conflict

with the other’s efforts. Either result will prejudice Mr. Johnson’s rights and

interests.

      In the wake of Trevino, the Fifth Circuit and Texas District Courts have

occasionally appointed supplemental counsel to represent capital federal habeas

petitioners alongside their originally-appointed CJA counsel when CJA counsel

represented their clients in initial state habeas proceedings. When such

appointments have been made, the petitioners’ cases were remanded to the district

court with instructions that their supplemental Martinez counsel investigate

procedurally defaulted IATC claims and, if substantial claims are identified, litigate

them. Martinez counsel’s role in those cases has been strictly limited to litigating

defaulted IATC claims, and originally-appointed CJA counsel have been instructed

to continue representing their clients on the claims raised in their initial federal

petitions. Thus, this solution creates a type of hybrid representation for some federal

habeas petitioners.




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       The appointment of supplemental Martinez counsel has proceeded smoothly

for petitioners litigating their initial federal habeas petitions, largely because each

counsel’s role has been clearly defined and counsel have not been proceeding on

parallel tracks. However, the hybrid representation in Mr. Johnson’s case is lacking

the defined roles needed to prevent potential conflicts arising between the two teams’

litigation strategies, resulting in the likelihood that his two representatives will file

competing claims in the state and federal courts, the evidence and arguments in

support of which may be inconsistent and irreconcilable.

       Mr. Johnson’s initial federal habeas petition has been finally denied and the

only remaining litigation to be performed in state or federal court will likely be

contingent on meeting heightened pleading requirements—in the form of a Rule 60(b)

motion, a second federal habeas petition, or a subsequent application for state habeas

relief. Should one of Mr. Johnson’s attorneys identify a viable basis for seeking one

or more of these forms of relief, and initiate proceedings in accordance with his

litigation strategy, his actions will almost certainly prejudice the efforts of his parallel

counsel. The result will be a race between Mr. Johnson’s representatives with no

realistic means of resolving which attorney has conducted the most thorough

investigations, and which attorney has identified Mr. Johnson’s best claims for relief

and legal arguments. This will be particularly harmful to Mr. Johnson in state court,

where there are new rules he may rely upon to overcome the abuse of the writ bar,

but which may only be used in the first habeas proceeding initiated after the creation

of the rule. See, e.g., Ex parte Chabot, 300 S.W.3d 768, 771 (Tex. Crim. App. Dec. 9,




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2009) (establishing due process violation from the State’s unknowing use of false or

misleading evidence).

         If one of Mr. Johnson’s current attorneys files the first subsequent habeas

application, Mr. Johnson’s best claims for relief may go unheard because of

arguments that could only be made in the first subsequent application. Moreover, the

first filing in any court may present arguments that undermine the arguments and

evidence being prepared by Mr. Johnson’s other attorney. There is a real risk that the

parallel attorneys’ efforts will cancel each other out and leave Mr. Johnson with no

opportunity to raise unpresented claims before his execution.

         The best solution, and the only solution guaranteed to protect Mr. Johnson’s

rights and interests, is to remove Mr. McCann and allow the FPD to exclusively

represent Mr. McCann.

   VI.        The FPD is best situated to represent Mr. Johnson in the
              investigation and pursuit of his unpresented claims.

         A.     Mr. McCann’s abysmal performance in representing Mr.
                Johnson to date should leave this Court with no confidence in
                his ability to capably represent him going forward.

         Mr. Johnson references the Court to the above factors, which he will not repeat

in detail here. As shown above, Mr. McCann does not possess the knowledge and

familiarity with the relevant facts, issues, or law that the Court assumed in its order

maintaining his appointment. He has failed to conduct simple tasks such as timely

collecting the trial team’s files, and has taken legal positions adverse to Mr. Johnson’s

best interests. Moreover, he has failed to raise numerous, potential meritorious

claims for relief.


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      B.     Arguments that must be made to render Mr. Johnson’s claims
             procedurally viable cannot be made by Mr. McCann.

      As discussed above, several arguments for initiating state and federal court

litigation cannot be made by Mr. McCann because of his conflict of interest under

Martinez. Counsel cannot reasonably be expected to denigrate their own performance

“which threatens their professional reputation and livelihood.” Christeson v. Roper,

135 S. Ct. 891, 894 (2015). Accordingly, “a significant conflict of interest arises” when

the client’s strongest arguments are at odds with counsel’s interest in protecting his

professional reputation. Id. (internal quotation marks deleted). See also McFarland

v. Scott, 512 U.S. 849, 858 (1994) (“the right to counsel necessarily includes a right

for that counsel meaningfully to research and present a defendant’s habeas claims”).

      Mr. McCann has such a conflict of interest. He cannot assert Martinez as cause

to excuse the procedural default of substantial IATC claims; he cannot argue his own

ineffectiveness as an excuse from the state-law bar against successive habeas

applications; and he cannot argue that the quality of his own representation violated

Mr. Johnson’s rights under 18 U.S.C. § 3599. The filing of any claims implicating

Martinez, and the assertion that Mr. McCann’s federal representation violated Mr.

Johnson’s Section 3599 rights, will also make Mr. McCann a witness against Mr.

Johnson in those proceedings. It violates fundamental notions of fairness to maintain

the appointment of a hostile witness in the representation of a death-sentenced

prisoner on this eve of an execution date.




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         C.     The FPD is equipped and able to represent Mr. Johnson in both
                state and federal court.

         The Capital Habeas Unit of the FPD was created to assist inmates such as Mr.

Johnson. They are currently fully staffed with twelve employees who have the

requisite knowledge, skill, and experience to effectively represent Mr. Johnson in

both state and federal court. The FPD is fully qualified to represent Mr. Johnson in

both federal and state court litigation. There is no state-law requirement that counsel

representing a client in subsequent state habeas proceedings be on the list of qualified

11.071 counsel. See Tex. Code Crim. Pro. art 11.071 § 6(b-1). On the contrary, an

attorney appointed to represent an indigent state capital prisoner in federal habeas

has a statutory obligation to represent the client throughout every subsequent stage

of available judicial proceedings, including subsequent state habeas proceedings. 18

U.S.C. § 3599(e); Wilkins v. Davis, 832 F.3d 547, 557 (5th Cir. 2016). As the FPD is

appointed to represent Mr. Johnson under § 3599(e), the Office has the statutory and

legal responsibility to represent Mr. Johnson in ancillary proceedings relating to his

conviction and sentence, including in state court. However, out of an abundance of

caution and because they are federally-funded, the FPD requests explicit approval

from this Court to do so.

   VII.       Conclusion and prayer for relief.

         For the aforementioned reasons, Mr. Johnson respectfully requests that this

Court:

   (1) Terminate the appointment of Mr. McCann;

   (2) Order that the FPD file Mr. Johnson’s unpresented claims in state court;



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   (3) Order that the FPD notify this Court upon the conclusion of the state court

      litigation; and

   (4) Stay his execution, as will be explicitly requested in a subsequent motion.



Respectfully submitted,

                                       JASON D. HAWKINS
                                       Federal Public Defender

                                       /s/ Jeremy Schepers
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                          CERTIFICATE OF CONFERENCE

      I, Jeremy Schepers, hereby certify that on the 5th day of April, 2019, I
conferenced this motion with Ellen Stewart-Klein of the Texas Attorney General’s
Office. She informed me that the Director opposes this motion.

                                              /s/ Jeremy Schepers
                                              ____________________________
                                              Jeremy Schepers




                             CERTIFICATE OF SERVICE

      I, Jeremy Schepers, hereby certify that on the 5th day of April, 2019, a copy of
the foregoing motion was delivered via ECF to the Texas Attorney General’s Office,
attention Ellen Stewart-Klein.

                                              /s/ Jeremy Schepers
                                              ____________________________
                                              Jeremy Schepers




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